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8                        UNITED STATES DISTRICT COURT

9                       EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,              No.   2:11-CR-0039 WBS
13                Plaintiff,

14        v.                                ORDER
15   YAMA MARIFAT,

16                Defendant.

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19             On March 7, 2011, defendant Yama Marifat entered a plea

20   of guilty to one count of conspiracy to rig bids in violation of

21   15 U.S.C. § 1 and one count of conspiracy to commit mail fraud in

22   violation of 18 U.S.C. § 1349.      Presently before the court is

23   Marifat’s motion to withdraw his plea to both of those counts.

24   (Docket Nos. 67, 85.)1

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26             Defendant initially filed a motion to withdraw his plea
     on September 11, 2016 (Docket No. 67), and then a “supplemental
27   motion” to withdraw his plea on March 2, 2017 (Docket No. 85),
     which was “not intended to replace, but merely to supplement” his
28   prior motion.
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1              Critical to the court’s analysis of defendant’s motion

2    is the fact that he has yet to be sentenced.        The motion is

3    accordingly governed by Federal Rule of Criminal Procedure

4    11(d)(2)(B), which provides that, “[a] defendant may withdraw a

5    plea of guilty . . . after the court accepts the plea, but before

6    it imposes sentence if . . . the defendant can show a fair and

7    just reason for requesting the withdrawal.”        The “fair and just”

8    standard of Rule 11(d)(2)(B) is generous and must be applied

9    liberally.    United States v. Mayweather, 634 F.3d 498, 504 (9th

10   Cir. 2010); United States v. McTiernan, 546 F.3d 1160, 1167 (9th

11   Cir. 2008).

12             An inadequate Rule 11 plea colloquy constitutes a fair

13   and just reason for withdrawal under Rule 11(d)(2)(B).           See

14   Mayweather, 634 F.3d at 510; United States v. Ortega-Ascanio, 376

15   F.3d 879, 883 (9th Cir. 2004).      Where the court did not fully

16   comply with the requirements of Rule 11(b)(1) in taking the plea,

17   the burden is upon the government to show that the error was

18   harmless, by establishing from the record either that defendant

19   was aware of the rights which were not explained to him or that

20   the court’s noncompliance was simply minor or technical.          United
21   States v. Villalobos, 333 F.3d 1070, 1074 (9th Cir. 2003).

22             Here, it is undisputed that the judge who took

23   Marifat’s guilty plea did not advise him of his rights to testify

24   and present evidence, and to compel the attendance of witnesses,

25   as set forth in Rule 11(b)(1)(E).       The government argues that

26   because the judge advised defendant that he had the right to a
27   jury trial on the charges that the right to present evidence and

28   witnesses was implicit in the right to a jury trial.         Further,
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1    the government points out that in his plea agreement, Marifat

2    expressly waived his constitutional right to subpoena witnesses

3    to testify on his behalf.

4              Rule 11(b) imposes upon the court the obligation to

5    advise the defendant of certain enumerated rights, including the

6    rights to testify and present evidence and to compel the

7    attendance of witnesses, regardless of whether the court

8    believes, or even may know, the defendant already understands

9    them.   Where the court fails to advise defendant of such rights

10   personally at the time of taking the plea, there is a fair and

11   just reason for withdrawing the plea under Rule 11(d)(2)(B).

12             The burden then shifts to the government to show that

13   the error was harmless.     The court cannot conclude here that the

14   failure to advise the defendant of his rights to testify, present

15   evidence, and compel the attendance of witnesses was simply a

16   minor or technical error.     So the question becomes whether the

17   government has established from the record that the defendant was

18   aware of those rights at the time he entered his plea.           See

19   Villalobos, 333 F.3d at 1074.

20             Although defendant acknowledged in the plea agreement
21   that he waived his right to subpoena witnesses, it was

22   nevertheless incumbent upon the court to address the defendant

23   personally in order to ascertain that the waiver was knowing and

24   voluntary.   Because the judge who took the plea failed to do so,

25   defendant’s acknowledgement in the plea agreement was an

26   insufficient substitute for the court’s advisement of the waiver
27   of that right.   See United States v. Arellano-Gallegos, 387 F.3d

28   794, 796-97 (9th Cir. 2004)(holding that waiver of right to
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1    appeal in plea agreement was invalid where court did not mention

2    waiver of appeal in its Rule 11 colloquy).

3                Even if the plea agreement were sufficient to establish

4    that defendant knew of his right to subpoena witnesses and

5    voluntarily waived that right, there is nothing in the agreement

6    establishing that he knew of his right to testify and present

7    evidence.    Does this court believe that Marifat did not

8    understand that the right to a jury trial included the right to

9    present evidence and witnesses?      Not for one minute.     At the time

10   of his plea, Marifat was a 38 year old naturalized American

11   citizen with a Bachelor of Science degree from the University of

12   Southern California, who had previously held real estate sales

13   and broker licenses.    It would be an insult to the court’s

14   intelligence to expect it to believe that when someone of

15   Marifat’s intelligence and background was told he had the right

16   to a jury trial, he would not understand that to include the

17   right to present evidence and call witnesses.

18               But that is not the test.     The defendant’s knowledge of

19   those rights must appear from the record, not from the court’s

20   intuition.   Here, it does not.
21               Accordingly, the court cannot find that the government

22   has met its burden of showing that the failure to advise

23   defendant during the Rule 11 plea colloquy of his rights to

24   testify and present evidence and to compel the attendance of

25   witnesses was harmless error.

26               IT IS THEREFORE ORDERED that defendant Yama Marifat’s
27   motion to withdraw his plea of guilty to Counts One and Two of

28   the Information (Docket Nos. 67, 85.) in this action be, and the
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1    same hereby is, GRANTED.2

2    Dated:   April 24, 2017

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               The court recognizes that this ruling may have untoward
18   consequences in that it results in defendant’s plea being
     withdrawn more than six years after it was entered. Rule
19   11(d)(2)(B) hardly contemplates such a lengthy delay between the
     plea and judgment. In the interim, the defendants in the related
20   case (2:11-CR-511) who did not plead guilty went to trial. The
     evidence against Marifat will undoubtedly be substantially the
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     same as that against the defendants who went to trial. That
22   trial began on February 4, 2014, and lasted 23 court days. Had
     the government and the court known Marifat was going to withdraw
23   his guilty plea, he could have been tried along with those
     defendants at the same time. He had three years to make his
24   request before that trial. The result of his delay is to put the
     government and the court through two lengthy and complex cases
25   instead of one. Not to mention that the government’s evidence
26   has likely gone stale since the first trial. Notwithstanding the
     imposition upon the government and the court, the ruling herein
27   is required by the law. The government may want to take this
     result into account when considering whether to agree to such
28   lengthy delays between plea and sentence in future cases.
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